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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       Case No. 07-CR-20076-3

JERRY McADOO, et al.,

              Defendant.
                                                   /

 ORDER DISQUALIFYING ATTORNEY SEQUOIA DUBOSE FROM REPRESENTING
     ANY DEFENDANT IN THIS CASE OTHER THAN DOMINIQUE HARDIN

       Defendant Jerry McAdoo, having obtained financial assistance from his family,

sought to substitute retained attorney Sequoia DuBose for court-appointed attorney

Michael S. Friedman. For the following reasons, the court will not allow the substitution.

                                     I. BACKGROUND

       Defendant McAdoo is one of twenty co-defendants in this conspiracy case. At a

hearing on July 11, 2007, Friedman sought permission to withdraw from representing

Defendant1 in this case. Friedman asserted that DuBose’s office informed him that it

received a retainer on behalf of Defendant. (7/11/07 Tr. at 3.) Further, Friedman stated

that he and Defendant suffered a breakdown in their attorney-client relationship,

principally based on a disagreement about whether to file a motion that Friedman did

not specify. (Id. at 5-6.) The court engaged Defendant in a dialogue, explaining the role

of an attorney in deciding strategy and tactics, with the filing of a motion falling in that

province. (Id. at 6-12.) Defendant said that he could continue to work with Friedman.



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        Unless otherwise indicated, “Defendant” will refer to Defendant McAdoo.
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(Id. at 9, 12.)2 The court therefore denied the request for substitution. In addition, the

court noted the absence of DuBose at the hearing and at a previous conference, as well

as the fact that DuBose failed to register, as every admitted attorney of this court is

required, as an electronic filer. (Id. at 3-4.)

       The court, notified of a potential conflict of interest for DuBose due to previous

representation of co-defendant Dominique Hardin, held another hearing on August 7,

2007, where DuBose and Hardin were present. Earlier, DuBose appeared in this case

on behalf of Hardin at a bond hearing before Magistrate Judge Steven D. Pepe on May

7, 2006. (5/7/06 Minute Entry on Docket.) DuBose stated at the latest hearing that he

“did the arraignment on the complaint” for Defendant Hardin but that DuBose received

no discovery and “knew nothing about the facts of the case itself.” (8/7/07 Tr. at 4.)

DuBose stated that Hardin shared nothing that creates a conflict of interest connected

to DuBose’s representation of Defendant McAdoo. (Id.) Marvin Barnett, Defendant

Hardin’s current attorney, stated that he discussed the issue with his client and that

Hardin would not waive any objection to DuBose representing Defendant McAdoo. (Id.

at 5-9.) The prosecutor also stated for the record that Defendant Hardin “had asked

Attorney DuBose to go and post bond for [Ursula Lapsley,] a co-defendant who was

arrested in the state of Arizona on matters directly related to this.” (Id. at 9-10.)

       Based on these presentations, the court found that, even if there is no apparent

conflict presently, there is great potential for conflict, particularly if one of the

Defendants were to be a witness against the other. (Id. at 4-8, 10-11.) The court



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      Defendant again stated he was satisfied with Friedman as his attorney at a
subsequent hearing. (8/7/07 Tr. at 15.)

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further opined that issues such as these are “quicksand” and “to be avoided.” (Id. at

12.) The court stated that it would render this written opinion, finding that DuBose is not

qualified under the relevant legal authority to represent an individual other than

Defendant Hardin. (Id. at 13-14.)

                                     II. DISCUSSION

       According to Federal Rule of Criminal Procedure 44:

       Joint representation occurs when:
       (A) two or more defendants have been charged jointly under Rule 8(b) or
       have been joined for trial under Rule 13; and
       (B) the defendants are represented by the same counsel, or counsel who
       are associated in law practice.

Fed. R. Crim. P. 44(c)(1). The court finds that allowing DuBose to represent Defendant

McAdoo would constitute joint representation. As such, the court is required to:

       promptly inquire about the propriety of joint representation and must
       personally advise each defendant of the right to the effective assistance of
       counsel, including separate representation. Unless there is good cause to
       believe that no conflict of interest is likely to arise, the court must take
       appropriate measures to protect each defendant’s right to counsel.

Fed. R. Crim. P. 44(c)(2). The right to counsel under the Sixth Amendment of the

United States Constitution exists not for its own sake, “‘but because of the effect it has

on the ability of the accused to receive a fair trial.” Mickens v. Taylor, 535 U.S. 162, 166

(2002) (quoting United States v. Cronic, 466 U.S. 648, 658 (1984)). Assistance which is

ineffective in preserving fairness does not meet the constitutional requirement. Id.

(citing Strickland v. Washington, 466 U.S. 668, 685-86 (1984)). There is a presumption

of prejudice when a trial court over a timely objection improperly requires joint

representation of co-defendants with conflicting interests. Holloway v. Arkansas, 435

U.S. 475 (1978).


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       In this case, the issue concerns successive representation. It is unclear under

the case law if the same presumption of prejudice applies to cases of successive

representation. See e.g. Stewart v. Wolfenbarger, 468 F.3d 338, 350-51 (6th Cir. 2006)

(habeas corpus petitioner is not entitled to presumption of prejudice for claim of

ineffective assistance of counsel due to concurrent representation). Pursuant to Rule

44, the court must, however, inquire and take measures to protect Defendants’ right to

counsel and, ultimately, a fair trial.

       Under the circumstances, the court is not persuaded that successive

representation by DuBose would be appropriate under Rule 44. The court cannot find

that “there is good cause to believe that no conflict of interest is likely to arise.” Fed. R.

Crim. P. 44(c)(2). In the context of a large conspiracy case, even preliminary

involvement of an attorney with one -- and perhaps even two -- co-defendants raises a

red flag. For the reasons stated on the record, even assuming lack of a present conflict,

the court cannot ignore the potential for (perhaps even the probability of) future

conflicts, which raises the specter of direct appeal or serious collateral attack to these

criminal proceedings. In short, the proposed arrangement is a thicket that the court will

not enter, particularly given Defendant Hardin’s refusal to waive any objection to

DuBose representing Defendant McAdoo. Finally, the court credits Defendant

McAdoo’s recent assertions of satisfaction with Friedman, his court-appointed counsel.

Because the court must take appropriate measures to protect each defendant’s right to

counsel, Fed. R. Crim. P. 44(c)(2), it will, for their sake and for the sake of a fair trial,

disqualify DuBose in this case from representing anyone other than Defendant Hardin.

Accordingly,


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                                                      III. CONCLUSION

          IT IS ORDERED that Attorney Sequoia DuBose is DISQUALIFIED from

appearing in this case on behalf of any Defendant other than Dominique Hardin.


                                                                 S/Robert H. Cleland
                                                                ROBERT H. CLELAND
                                                                UNITED STATES DISTRICT JUDGE
Dated: August 17, 2007

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, August 17, 2007, by electronic and/or ordinary mail.

                                                                 S/Lisa Wagner
                                                                Case Manager and Deputy Clerk
                                                                (313) 234-5522




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